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                        Exhibit A

                      Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re                                                       Chapter 11

BOY SCOUTS OF AMERICA, et al.,                              Case No. 20-10343 (LSS)

                          Debtors.1                         Jointly Administered

                                                            RE: D.I. 1741, 1742, 1743, 1761, 1768, 1769, 1782,
                                                            1784, 1794, 1795, 1797, 1798, 1811, 1910, 1920,
                                                            1922, 1923, 1954.

    FOURTH OMNIBUS ORDER GRANTING INTERIM ALLOWANCE OF FEES AND
                EXPENSES FOR CERTAIN PROFESSIONALS

                  These matters come to be heard, in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Retained

Professionals (D.I. 341) (the “Interim Compensation Procedures Order”)2 and the Order

Amending the Order (I) Approving Procedures for (A) Interim Compensation and

Reimbursement of Expenses of Retained Professionals and (B) Expense Reimbursement for

Official Committee Members and (II) Granting Related Relief (D.I. 5899) (the “Amended

Interim Compensation Procedures Order”), on the Interim Fee Applications filed by the

Professionals identified on Exhibits A, B, and C hereto for the periods set forth on such

exhibits; and this Court having determined that proper and adequate notice of these matters has

been given and that no other or further notice is necessary; and the requested compensation for

the services detailed in the applicable Interim Fee Applications being for reasonable and

necessary services rendered by the applicable Professionals; the reimbursements for expenses



1
     The Debtors in these cases, along with the last four digits of each Debtor’s federal EIN, are as follows: Boy
     Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West Walnut
     Hill Lane, Irving, Texas 75038.
2
     Capitalized terms not defined herein shall have the meanings ascribed to them in the Interim Compensation
     Procedures Order.
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detailed in the Interim Fee Applications representing actual and necessary expenses incurred by

the applicable Professionals in connection with these cases; the legal and factual bases set forth

in the Interim Fee Applications having established just cause for the relief granted herein; and

after due deliberation thereon; and good and sufficient cause appearing therefor;

       IT IS HEREBY ORDERED THAT:

                  1.   Interim   compensation    and    reimbursement    of   expenses    for   the

Professionals are hereby allowed as set forth in this Order, including Exhibits A, B, and C

attached hereto.

                  2.   Unless otherwise ordered by the Court or agreed by the applicant, the

entry of this Order is without prejudice to the right of the Professionals at a future hearing to

request the allowance and payment of compensation and/or expenses in amounts in excess of

those allowed pursuant to the first decretal paragraph of this Order for the periods covered by the

Interim Fee Applications for allowance and payment of compensation and expenses considered

at the Hearing.

                  3.   The Debtors are authorized to pay each Professional in the amount of the

difference between (a) 100% of the total fees and expenses allowed herein for such Professional

as set forth in Column (9) on Exhibits A, B, and C attached hereto and (b) the actual payments

received by such Professional for the period covered herein, upon the Court’s approval of each

Professional’s Final Fee Application pursuant to the terms of the Interim Compensation

Procedures Order, as modified by the Amended Interim Compensation Procedures Order.

                  4.   The Debtors are authorized and empowered to take such actions as may be

necessary and appropriate to implement the terms of this Order.

                  5.   This Court shall retain jurisdiction with respect to all matters relating to


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the interpretation or implementation of this Order.

               6.     This Order shall be effective immediately upon entry.




                                                3
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                                                                                          Exhibit A
                                                                              DEBTORS' PROFESSIONALS
                                                                    1
             (1)                  (2)            (3)             (4)             (5)            (6)            (7)             (8)            (9)             (10)             (11)
                                                                                                               Total                                                       Total Amount
                                                                                                Total                         Total
                                                              Amount of                                      Amount                          Total        Total Amount      Authorized
                                                                              Amount of      Expenses                       Amount
                                              Total Fees         Fees                                       Requested                      Amount          Requested in     Per Court
                                Interim                                       Holdback       Requested                     Disallowed
                                            Requested for    Requested in                                     for the                     Authorized        Cases (Fees    Order to Date
       Applicant                 Period                                         Fees           for the                     or Waived
                                             the Interim       Monthly                                       Interim                        for the       and Expenses)      (Fees and
                                  2020                                        Requested       Interim                        for the
                                               Period        Applications                                  Period (Fees                    Interim           thru the       Expenses)
                                                                               (20%)           Period                       Interim
                                                                (80%)                                           and                         Period        Interim Period
                                                                                              (100%)                         Period
                                                                                                            Expenses)
Alvarez & Marsal North
                                8/1-10/31   $1,176,100.002    $940,880.00     $235,220.00      $2,205.75   $1,178,305.75   $19,273.753    $1,159,032.00    $4,128,187.25    $4,072,947.43
America, LLC
Bates White, LLC                8/1-10/31     $378,951.00     $303,160.80      $75,790.20         $0.00     $378,951.00     $3,972.504     $374,978.50       $673,758.00     $663,597.50
Haynes and Boone, LLP           8/1-10/31    $582,855.505     $466,284.40     $116,571.10       $561.28     $583,416.78    $11,270.006     $572,146.78     $1,373,294.92    $1,346,196.42
KCIC, LLC                       8/1-10/31     $402,772.00     $322,217.60      $80,554.40      $1,386.30    $404,158.30     $1,309.007     $402,849.30       $425,038.89     $423,729.89
Morris, Nichols, Arsht &
                                8/1-10/31     $214,611.50     $171,689.20      $42,922.30      $8,798.45    $223,409.95     $4,037.508     $219,372.45     $1,084,025.46    $1,052,711.67
Tunnell LLC
Ogletree, Deakins, Nash,
                                8/1-10/31     $375,282.55     $300,226.04      $75,056.51       $262.69     $375,545.24     $7,431.509     $368,113.74     $1,316,263.46    $1,279,576.96
Smoak & Stewart, P.C.
PricewaterhouseCoopers
                               2/18-10/31     $135,936.00     $108,748.80      $27,187.20         $0.00     $135,936.00          $0.00     $135,936.00       $135,936.00     $135,936.00
LLP
Quinn Emanuel Urquhart
                                8/1-9/30    $1,051,110.45     $840,888.36     $210,222.09    $14,315.86    $1,065,426.31   $23,898.1510   $1,041,528.16    $1,065,426.31    $1,041,528.16
& Sullivan, LLP
Sidley Austin LLP              8/1-10/31    $2,951,599.50    $2,361,279.60    $590,319.90    $45,020.56    $2,996,620.06   $63,081.2511   $2,933,538.81   $11,402,866.75   $11,169,808.10
White & Case LLP               9/23-10/31     $710,671.00     $568,536.80     $142,134.20         $0.00     $710,671.00    $16,314.5012    $694,356.50       $710,671.00     $694,356.50
SUB TOTALS                                  $7,979,889.50    $6,383,911.60   $1,595,977.90   $72,550.98    $8,052,440.48   $150,588.15    $7,901,852.33   $22,315,468.04   $21,880,388.63


         1
                   Please note that the listing in Columns (4) and (6) are amounts of fees and expenses for which payment was requested in monthly applications and is not
                   intended to and should not be construed as a finding by the Court or admission by the Applicant that such amounts were actually paid by the Debtors.
         2
                   Includes a voluntary reduction of $2,475.
         3
                   Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2153).
         4
                   Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2152).
         5
                   Includes a voluntary reduction of $7,604.
         6
                   Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2146).
         7
                   Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2154).
         8
                   Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2157).
         9
                   Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2147).
         10
                   Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2163).
         11
                   Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2150).
         12
                   Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2149).
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                                                                                     Exhibit B

                                                                         TORT COMMITTEE'S COUNSEL
                                                              1
          (1)                 (2)           (3)            (4)            (5)            (6)               (7)           (8)            (9)             (10)               (11)
                                                                                         Total                           Total
                                                        Amount of                                     Total Amount                                  Total Amount     Total Amount
                                        Total Fees                     Amount of      Expenses                         Amount       Total Amount
                                                           Fees                                       Requested for                                  Requested in     Authorized
                           Interim      Requested                      Holdback       Requested                       Disallowed     Authorized
                                                       Requested in                                    the Interim                                    Cases (Fees     Per Court
      Applicant             Period        for the                        Fees           for the                       or Waived         for the
                                                         Monthly                                       Period (Fees                                 and Expenses)    Order to Date
                             2020        Interim                       Requested       Interim                          for the        Interim
                                                       Applications                                        and                                         thru the        (Fees and
                                          Period                        (20%)           Period                         Interim          Period
                                                          (80%)                                         Expenses)                                   Interim Period    Expenses)
                                                                                       (100%)                           Period
Berkeley Research
                          5/1-7/31     $1,058,445.50    $846,756.40    $211,689.10           $98.86   $1,058,544.36   $15,798.002   $1,042,746.36    $1,731,068.10   $1,710,587.60
Group, LLC

Pasich LLP                5/12-10/31    $676,156.303    $540,925.04    $135,231.26            $0.00     $676,156.30         $0.00     $676,156.30      $676,156.30     $676,156.30
Pachulski Stang Ziehl
                          8/1-10/31    $1,913,906.50   $1,531,125.20   $382,781.30     $67,082.34     $1,980,988.84   $19,307.254   $1,961,681.59    $5,240,894.30   $5,179,088.35
& Jones LLP
SUB TOTALS                             $3,648,508.30   $2,918,806.64   $729,701.66     $67,181.20     $3,715,689.50    $35,105.25   $3,680,584.25    $7,648,118.70   $7,565,832.25
                                                              OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                            8/1/20-
AlixPartners, LLP                       $757,021.00     $605,616.80    $151,404.20            $0.00     $757,021.00   $11,061.755     $745,959.25    $2,517,133.00   $2,471,542.55
                           10/31/20
Kramer Levin Naftalis       8/1/20-
                                       $1,057,584.50    $846,067.60    $211,516.90     $10,646.197    $1,068,230.69   $13,229.758   $1,055,000.94    $3,529,346.43   $3,476,038.69
& Frankel LLP6             10/31/20
SUB TOTALS                             $1,814,605.50   $1,451,684.40   $362,921.10     $10,646.19     $1,825,251.69    $24,291.50   $1,800,960.19    $6,046,479.43   $5,947,581.24




         1
                Please note that the listing in Columns (4) and (6) are amounts of fees and expenses for which payment was requested in monthly applications and is not
                intended to and should not be construed as a finding by the Court or admission by the Applicant that such amounts were actually paid by the Debtor
         2
                Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2156).
         3
                Includes a voluntary reduction of $79,826.40.
         4
                Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2155).
         5
                Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2148).
         6
                In the Fee Examiner’s Final Fee Report (D.I. 2165), there was an inadvertent error regarding Kramer Levin’s requested and agreed to fees and expenses.
                Accordingly, to the extent there are any discrepancies between the fees and expenses in the Fee Examiner’s Final Report (D.I. 2165) and this Order, this
                Order shall control.
         7
                Includes a voluntary reduction in expenses of $1,501.64.
         8
                Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2165).
                                                                                         2
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                                                                                     Exhibit C

                                                                     FUTURE CLAIMANT'S REPRESENTATIVE

        (1)                (2)          (3)              (4)1             (5)            (6)              (7)            (8)             (9)             (10)             (11)
                                                                                         Total                           Total
                                                     Amount of                                                                                       Total Amount     Total Amount
                                                                      Amount of       Expenses       Total Amount      Amount
                                     Total Fees         Fees                                                                        Total Amount      Requested in     Authorized
                                                                      Holdback        Requested      Requested for    Disallowed
                        Interim    Requested for    Requested in                                                                    Authorized for     Cases (Fees     Per Court
     Applicant                                                          Fees            for the       the Interim     or Waived
                         Period     the Interim       Monthly                                                                        the Interim     and Expenses)    Order to Date
                                                                      Requested        Interim        Period (Fees      for the
                                      Period        Applications                                                                       Period           thru the        (Fees and
                                                                       (20%)            Period       and Expenses)     Interim
                                                       (80%)                                                                                         Interim Period    Expenses)
                                                                                       (100%)                           Period
Ankura Consulting
                       8/1-10/31       $98,005.00      $78,404.00       $19,601.00        $14.95        $98,019.95     $3,000.002       $95,019.95      $109,224.45     $106,224.45
Group, LLC

Gilbert, LLP           8/1-10/31      $163,707.00     $130,965.60       $32,741.40      $1,001.88      $164,708.88     $1,694.003      $163,014.88      $306,869.23     $299,632.73

James L. Patton, Jr.   8/1-10/31       $56,000.00      $44,800.00       $11,200.00           $0.00      $56,000.00          $0.00       $56,000.00      $102,200.00     $102,200.00
Young Conaway
Stargatt & Taylor,     8/1-10/31      $195,767.50     $156,614.00       $39,153.50      $1,768.53      $197,536.03     $2,848.604      $194,687.43      $637,295.42     $616,982.07
LLP
SUB TOTALS                            $513,479.50     $410,783.60      $102,695.90      $2,785.36      $516,264.86      $7,542.60      $508,722.26    $1,155,589.10    $1,125,039.25
GRAND TOTAL                        $13,956,482.80   $11,165,186.24   $2,791,296.56    $153,163.73    $14,109,646.53   $217,527.50   $13,892,119.03   $37,165,655.27   $36,518,841.37




          1
               Please note that the listing in Columns (4) and (6) are amounts of fees and expenses for which payment was requested in monthly applications and is not
               intended to and should not be construed as a finding by the Court or admission by the Applicant that such amounts were actually paid by the Debtor
          2
               Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2164).
          3
               Total fee amount reduced per Fee Examiner’s Final Fee Report (D.I. 2162).
          4
               Total amount reduced per Fee Examiner’s Final Fee Report (D.I. 2151) of $2,666 in fees and $182.60 in expenses.

                                                                                         3
